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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

                                                  No. 17-cv-01969-PJS-TNL
QXMédical, LLC,

             Plaintiff and Counterclaim
             Defendant,

v.                                         MEMORANDUM IN SUPPORT OF
                                            QXMÉDICAL, LLC’S MOTION
Vascular Solutions, LLC;                    FOR SUMMARY JUDGMENT
Teleflex Innovations S.à.r.l.; and Arrow
International, Inc.,

             Defendants and Counterclaim
             Plaintiffs.
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                                   INTRODUCTION

      Counterclaim Plaintiffs (“VSI”) allege QXMédical, LLC’s (“QXM’s”) Boosting

Catheter infringes six patents: 8,048,032 (“’032 patent”); 8,142,413 (“’413 patent”);

RE45,380 (“RE’380 patent”); RE45,760 (“RE’760 patent”); RE45,776 (“RE’776

patent”); and RE46,116 (“RE’116 patent”). As a matter of law, all patent claims asserted

in this case are invalid or not infringed by QXM. QXM moves for summary judgment on

the following grounds:

      1.     All asserted claims are invalid because the term “substantially rigid,” which
             runs through each claim, is indefinite.

      2.     Three reissued patents (RE’760, RE’776 and RE’116) are invalid because
             they violate the recapture rule by improperly eliminating the “without a
             lumen” limitation from the original ’032 patent.

      3.     QXM’s Boosting Catheter does not infringe the ’032, ’413 and RE’380
             patents because they require a pushrod “without a lumen,” and the Boosting
             Catheter’s shaft has a lumen.

      4.     QXM’s Boosting Catheter does not infringe ’032 claim 8, RE’380 claim 8,
             RE’760 claims 25 and 48, RE’776 claims 30 and 53, and RE’116 claim 25,
             all of which require the inner diameter of the distal tube to be “not more
             than one French smaller” than the inner diameter of the guide catheter with
             which the device is prescribed for use.

      5.     QXM’s Boosting Catheter does not infringe RE’760 claim 25, RE’776
             claims 25 and 52, RE’760 claim 48, and RE’116 claim 52, because portions
             of the Boosting Catheter’s “tubular structure” are more rigid than the “side
             opening.”

      6.     Claim 53 of RE’116 is invalid as anticipated by Patent No. 5,527,292
             (“Adams”).

      The above issues present several independent bases for the Court to resolve this

entire case. If the Court enters summary judgment for QXM on issue #1, the case is over.

If the Court enters summary judgment for QXM on issues #2 and #3, the case is over. If


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the Court enters summary judgment for QXM on issues #3, #4, #5, and #6, the case is

over. For any or all of those reasons, the Court should grant summary judgment that

QXM’s Boosting Catheter does not infringe VSI’s patents.

                                       ARGUMENT

       The Court shall enter summary judgment “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). The undisputed evidence below entitles QXM to

summary judgment.

I.     ALL ASSERTED CLAIMS ARE INVALID BECAUSE THE TERM
       “SUBSTANTIALLY RIGID” IS INDEFINITE

       All asserted claims of the VSI patents are invalid because the term “substantially

rigid” – a common element to each claim – is indefinite. VSI’s claimed device has three

basic segments: (1) a “substantially rigid” pushrod; (2) a “flexible” tube; and (3) a side

opening to the tube. (See, e.g., ’032 claim 3 and RE’760 claim 25.) The Court accepted

VSI’s claim construction that “substantially rigid” means “rigid enough to allow the

device to be advanced within the guide catheter.” (Order [Dkt. #102], at 15.) But the

distal tube, which is “flexible,” is also “rigid enough to allow the device to be advanced

within the guide catheter.” There is, therefore, no meaningful distinction that would

enable a person of skill in the art to distinguish “substantially rigid” from “flexible.”




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       A.     Indefiniteness Standard

       “[A] patent is invalid for indefiniteness if its claims, read in light of the

specification delineating the patent, and the prosecution history, fail to inform, with

reasonable certainty, those skilled in the art about the scope of the invention.”

Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014). “[A] claim term is

indefinite if it leave[s] the skilled artisan to consult the unpredictable vagaries of any one

person’s opinion.” Dow Chem. Co. v. Nova Chemicals Corp. (Canada), 803 F.3d 620,

635 (Fed. Cir. 2015) (internal quotation marks and citation omitted). “Even if a claim

term’s definition can be reduced to words, the claim is still indefinite if a person of

ordinary skill in the art cannot translate the definition into meaningfully precise claim

scope.” Halliburton Energy Servs. v. M-I LLC, 514 F.3d 1244, 1251 (Fed Cir. 2008).

Whether a patent is invalid for indefiniteness is a question of law. Cardiac Pacemakers,

Inc. v. St. Jude Medical, Inc., 296 F.3d 1106, 1113 (Fed. Cir. 2002).

       B.     The Court’s Claim Construction

       Although the Court has construed “substantially rigid,” it remains indefinite.1

After accepting VSI’s argument that “substantially rigid” means “rigid enough to allow




       1
         This is a problem of VSI’s creation. VSI insisted “substantially rigid” should be
construed according to its function, as opposed to its plain and ordinary meaning. (Hrg.
Trans. [Dkt. #79] 108:17-112:7.) If given a plain meaning construction, QXM would not
infringe. The exemplary “rigid” pushrod in the VSI patents is approximately three times
as rigid as the allegedly “substantially rigid” proximal shaft in QXM’s Boosting Catheter.
(Declaration of Courtland Merrill (“Merrill Decl.”) Ex. 21, ¶ 134.) If measured against
the standard for rigidity in the VSI patents, the Boosting Catheter’s proximal shaft is not
“substantially rigid.” (Id., ¶¶ 118-136.)


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the device to be advanced within the guide catheter,” the Court noted that VSI’s “victory

may be short-lived – or even pyrrhic.” (Order [Dkt. #102], at 15.) The Court

summarized QXM’s argument that the “flexible” tube fits VSI’s definition of

“substantially rigid.” (Id.) The Court then wrote:

       QXMédical would have a compelling argument, but for one problem: The
       evidence in the record simply does not allow the Court to determine
       whether the factual premises of the argument are true. . . . At this point,
       then, the Court cannot conclude that Vascular Solutions’s proposed
       construction of “substantially rigid” would capture anything that the patents
       describe as “flexible.”

(Id. at 16-17.) The undisputed evidence now in the record conclusively establishes that

the “flexible” tube is “rigid enough to allow the device to be advanced within the guide

catheter.”

       C.     “Substantially Rigid” Is Indefinite

       The undisputed evidence shows that VSI’s construction of “substantially rigid”

captures portions of the Boosting Catheter that are indisputably “flexible.” QXM’s

technical expert, Brian Brown, performed a catheter advancement test using a portion of

the Boosting Catheter’s distal tube that VSI agrees is “flexible.” (Merrill Decl. Ex. 1,

¶ 456.) Brown took samples of that tube and linked them together to create a full-length

“flexible” catheter long enough to extend 15 cm beyond the distal end of the guide

catheter. (Id., ¶¶ 457-59.) Brown placed a guide catheter in a simulated coronary artery,

and pushed the proximal end of the full-length “flexible” catheter through and beyond the

guide catheter into the simulated coronary artery. (Id., ¶¶ 460-61.) Brown’s test

established that the “flexible” material comprising the Boosting Catheter tube is “rigid



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enough to allow the device to be advanced within the guide catheter.” (Id., see also

¶¶ 462-64 (describing secondary “reversed advance-ability” test to confirm results).)2

        VSI’s technical expert, Peter Keith, does not dispute the results of Brown’s tests.

Keith does not deny that the flexible distal tube of the Boosting Catheter, if extended for

the entire length of the device, is rigid enough to advance the device through a guide

catheter. (Keith Dep. 160:19-161:23.)3 Keith also does not deny that, under the

construction of “substantially rigid,” things that are “flexible” would also fall within the

definition of “substantially rigid.” (Id. 163:9-164:3, see also 181:13-15 (“[F]lexibility

and rigidity are tied together, so if you are looking at it for rigidity, you are also looking

at it for flexibility.”).)

        Brown’s test results and Keith’s deposition testimony highlight the problem with

the term “substantially rigid,” as construed. “Rigid” and “flexible” are antonyms.4 They




        2
        This is precisely the test discussed during the claim construction hearing.
(Hrg. Trans. [Dkt. #79] 106:4-21.)

        The deposition transcript of Peter Keith (“Keith Dep.”) is attached to the Merrill
        3

Declaration as Exhibit 2.
        4
         The claims and specification use “flexible” and “substantially rigid” to describe
mutually exclusive portions of the claimed invention. “Substantially rigid” describes the
proximal portion comparatively more rigid than the distal “flexible tip portion”
(’032, ’413, and RE’380, claim 1) or the flexible “tubular structure” (RE’776, claim 25;
see also claim 52; RE’760, claim 25; and RE’116, claim 25). The tubular structure is
“flexible” so it can be advanced into the narrow coronary arteries. (See, e.g., ’413 patent,
claim 1 (“advancing a distal portion of the flexible tip portion distally beyond the distal
end of the standard guide catheter and into the second artery”).) VSI argued during
prosecution that the rigidity of the proximal “substantially rigid” portion was
distinguishable from the distal “flexible tip” portion. (Merrill Decl. Ex. 15 at 13.)


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cannot have the same meanings. See, e.g., Outside the Box Innovations, LLC v.

Travel Caddy, Inc., No. CIV. A. 1:05-CV2482O, 2006 WL 6142860, at *9-11

(N.D. Ga. Sept. 18, 2006), aff’d, 695 F.3d 1285 (Fed. Cir. 2012) (recognizing the need to

differentiate between terms “flexible,” “generally rigid” and “generally semi-rigid”).

Applying the Court’s construction, a person of ordinary skill in the art is unable to

determine the difference between “substantially rigid” and “flexible,” or the boundaries

of either term. See Seattle Box Co. v. Indust. Crating & Packing, Inc., 731 F.2d 818,

820-21, 826 (Fed. Cir. 1984) (words of degree can be indefinite if the patent’s

specification fails to provide a standard for measuring the degree claimed). If the

pushrod and the tube are both “substantially rigid” and “flexible,” then those terms are

entirely superfluous. VSI’s requested construction of “substantially rigid” makes it

impossible to draw the line between infringement and non-infringement. Accordingly,

the Court should invalidate all asserted claims of the VSI’s patents for indefiniteness.

II.    RE’760, RE’776, AND RE’116 ARE INVALID BECAUSE THEY VIOLATE
       THE RECAPTURE RULE

       Three of VSI’s reissued patents (RE’760, RE’776, RE’116) are invalid because

they violate the rule against recapture of subject matter surrendered during prosecution of

the original application from which they arose. During protracted prosecution of the

original ’032 patent, VSI narrowed its claims to avoid prior art – first by describing the

pushrod as “non-tubular” and “non-circular,” and then as a “rail structure without a

lumen.” This was not an inadvertent “error”; VSI intentionally added the “without a

lumen” limitation to get the claims of the ’032 patent issued. When VSI obtained three



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of the reissued patents, however, it removed the “without a lumen” limitation and

reverted back to the broader original description (“substantially rigid portion” alone) that

the Patent Office had previously rejected. VSI cannot recapture through reissued patents

territory it surrendered.

       A.      The Recapture Rule

       A patent holder may seek reissue of an existing patent that is inoperative or invalid

as a result of “error.” 35 U.S.C. § 251. “However, under the rule against recapture,

‘a patentee is precluded from regaining the subject matter that he surrendered in an effort

to obtain allowance of the original claims.’” Greenliant Systems, Inc. v. Xicor LLC,

692 F.3d 1261, 1263 (Fed. Cir. 2012) (quoting N. Am. Container, Inc. v. Plastipak

Packaging, Inc., 415 F.3d 1335, 1349 (Fed. Cir. 2005)). “[S]uch a surrender is not the

type of correctable ‘error’ contemplated by the reissue statute.” Hester Industries, Inc. v.

Stein, Inc., 142 F.3d 1472, 1480 (Fed. Cir. 1998).

       The recapture rule involves three steps. Greenliant, 692 F.3d at 1267. First, the

Court must determine if the reissue claims are broader than the original claims. Id.

Second, the Court must determine if the broader aspects of the reissue claims relate to

subject matter surrendered in the original patent prosecution. Id. Third, the Court must

determine if the element of the reissue claims at issue was materially narrowed in some

respect. Id.

       Whether a reissued patent is invalid according to the recapture rule is a question of

law. In re Mostafazadeh, 643 F.3d 1353, 1358 (Fed. Cir. 2011). The Court may decide

this issue on summary judgment. See Greenliant, 692 F.3d at 1263 (affirming summary


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judgment that reissued patents were invalid under the recapture rule); MBO Laboratories,

Inc. v. Becton, Dickinson & Co., 602 F.3d 1306, 1308 (Fed. Cir. 2010) (same);

N. Am. Container, 415 F.3d at 1338 (same).

       B.     VSI’s Reissued Patents Are Broader than the Original ’032 Patent

       With respect to the first step of the recapture analysis, VSI’s reissued patents are

broader than the original ’032 patent from which they stem. The ’032 patent required the

pushrod be “without a lumen.” (’032 claim 1 (10:40-41); see also ’413 claim 1

(10:54-55); RE’380 claim 1 (11:4).) Each asserted claim of the RE’760, RE’776, and

RE’116 reissued patents eliminated that limitation, broadening the claims to now cover

devices with pushrods that may or may not have a lumen. (RE’760 claims 25 and 48;

RE’776 claims 25, 52, and 53; RE’116 claims 25 and 52.) “A reissue claim that deletes a

limitation or element from the patent claims is broader in that limitation’s aspect.”

In re Clement, 131 F.3d 1464, 1468 (Fed. Cir. 1997). See also Mostafazadeh, 643 F.3d at

1361 (reissued patent that eliminated original “circular shape” requirement was invalid);

N. Am. Container, 415 F.3d at 1350 (reissued patent that eliminated requirement that

“inner walls” be “generally convex” was invalid); Pannu v. Storz Instruments, Inc.,

258 F.3d 1366, 1371 (Fed. Cir. 2001) (reissued patent that eliminated “circular arc”

requirement was invalid).

       C.     VSI Surrendered Coverage over Pushrods with “Lumens”

       As to the second step of the recapture analysis, the Court looks to the prosecution

history to determine if the patentee surrendered particular subject matter. Clement,

131 F.3d at 1469. Surrender occurs if an objective observer would conclude that the


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patentee made an amendment or argument in order to overcome prior art and obtain the

patent. Greenliant, 692 F.3d at 1267. Here, the prosecution history establishes a prima

face surrender of devices having a lumen.

       On May 3, 2006, VSI filed the application that eventually led to the ’032 patent.

(Merrill Decl. Ex. 3.) VSI’s initial claims described the pushrod of the device as merely

a “substantially rigid portion”:




(Id. at 24-25 (claim 8).)

       On December 5, 2008, the Patent Office rejected all of VSI’s initial claims as

obvious in light of the prior art: Niazi combined with Solar. (Merrill Decl. Ex. 4 at 3.)

Niazi discloses a catheter-within-catheter arrangement. (Merrill Decl. Ex. 17 at Fig. 6

and 6:45-54.) Solar discloses a rapid exchange balloon catheter with a pushrod,

described as “advancement member 5.” (Merrill Decl. Ex. 18, Fig. 1 and ¶ 0025.)

Solar’s “advancement member 5” is colored green in the image below with color added

for clarity.




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(Id., Fig. 1.) Solar’s pushrod is “formed of a flexible wire, or alternatively, of spring

hollow hypotube.” (Id., ¶ 0025.) There is no dispute a hypotube has a lumen.

(Keith Dep. 22:21-22 (a hypotube is a “hollow metal shaft”).) Over the next several

months, the Patent Office rejected VSI’s application two more times based on Solar and

Niazi. (Merrill Decl. Ex. 5 at 6 (claim 8); Ex. 6 at 3; Ex. 7; Ex. 8 at 3-4.)

       On February 19, 2010, VSI filed new claims. (Merrill Decl. Ex. 9 (claims 28, 56,

57) p. 3, 10, 12.) This time, VSI described the pushrod as “an elongated structure . . .

having a non-circular cross-section.” (Id. (emphasis added).) Again the examiner

rejected the claims based on Niazi and Solar. (Merrill Decl. Ex. 10 at 5.) The examiner

explained it would have been obvious to modify Solar’s pushrod “to be non-circular . . .

because a non-circular cross-section would have the ability to perform the same function

as the rod taught by Solar with only the expected result of minimizing the profile of the

rod inside the device.” (Id. at 5.)

       On June 28, 2010, VSI again filed new claims. (Merrill Decl. Ex. 11, Claims

58-77.) VSI’s new claims described the pushrod as a “substantially rigid portion . . .

defining a non-tubular structure having a maximal cross-sectional dimension at a

proximal portion that is non-circular.” (Id., claims 58 and 67 (emphasis added).) VSI

added the “non-tubular” and “non-circular” limitations to distinguish Solar, and disputed

the examiner’s conclusion Solar’s pushrod would perform the same function as VSI’s

claimed “non-circular” pushrod. (Id. at 10-11.)




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       On July 30, 2010, the Patent Office rejected VSI’s claims for obviousness and lack

of written description. (Merrill Decl. Ex. 12 at 2, 3, 9.) Addressing VSI’s prior art

arguments, the examiner explained the pushrod in Solar could be made non-circular by

flattening it into a rectangle. (Id. at 9.)

       On October 8, 2010, VSI filed a response, arguing “the advancement member 5 of

Solar is only discussed in terms of a ‘flexible wire or, alternatively, a spring hollow

hypotubing.’” (Merrill Decl. Ex. 13 at 12 (quoting Solar ¶ 0025).) VSI argued neither

the “flexible wire” nor “hollow hypotubing” pushrods in Solar satisfied the claims’

requirement of “non-circular” pushrod. (Id.) But the examiner again rejected the claims

as obvious. (Merrill Decl. Ex. 14 at 4.) The examiner also rejected the “non-tubular” and

“non-circular” limitations as “negative limitations” that lacked written description.

(Id. at 2, 8 ¶ 4u.)

       On February 22, 2011, VSI again amended the claims. (Merrill Decl. Ex. 15.)

VSI removed the “negative limitations” describing the pushrod as “non-tubular” and

“non-circular,” and added a requirement that the pushrod be “more rigid . . . than the

flexible tip portion”:




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(Id. claims 58, 67)

       The Patent Office did not accept VSI’s amendment until VSI further limited the

shape of the pushrod. VSI’s counsel agreed to an additional amendment requiring the

pushrod have a “rail structure without a lumen.” (Merrill Decl. Ex. 16 at 2.) As allowed,

the amended claims read:




(Id., amending independent claims 58 and 67.) The examiner explained in the notice of

allowance that: “While many of the structures are known, the arrangement of a claimed

rail structure . . . is not taught or suggested by the prior art.” (Merrill Decl. Ex. 16 at 2.)

       The prosecution history makes clear VSI included the “rail structure without a

lumen” limitation (and the “non-tubular” and non-circular” limitations it replaced) to

avoid Solar’s hypotube or flexible wire pushrod. Patent Office guidelines presume an

irrevocable surrender when an applicant adds a limitation following a prior art rejection,

even if the applicant makes no argument regarding the need for the limitation. See

Manual Patent Examining Procedure § 1412.02 [Dkt. #60-7] at 1400-27-28, Example #2.

Thus, VSI is presumed to have surrendered coverage for pushrods with a lumen.




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       D.     VSI Did Not Narrow its Reissued Claims

       Step three of the recapture analysis cannot save VSI’s reissued patents. A patentee

can avoid recapture if it materially narrows the reissue claims at the same time it

broadens them, such that it has not fully or substantially recaptured the surrendered

subject matter. Mostafazadeh, 643 F.3d at 1358. But “the narrowing must relate to the

subject matter surrendered.” Id. at 1359.

       VSI’s RE’760, RE’776, RE’116 reissued patents do not narrow the claims in any

way that relates to the shape of the claimed pushrod. See, e.g., Pannu, 258 F.3d at 1372

(“The narrowing aspect of the claim on reissue, however, was not related to the shape of

the haptics.”). Three of the reissued patents no longer have the “without a lumen”

limitation. They more broadly cover all “substantially rigid” pushrods – with or without

a lumen. Those reissued patents are invalid under the recapture rule.

III.   QXM’S BOOSTING CATHETER DOES NOT INFRINGE THE ’032, ’413
       OR RE’380 PATENTS BECAUSE ITS SHAFT HAS A LUMEN

       QXM’s Boosting Catheter does not infringe any of VSI’s patents (asserted claims

1 of the ‘032, ’413 and RE’380 patents) that require a pushrod “without a lumen.” The

undisputed evidence establishes that the Boosting Catheter’s shaft has a lumen, putting it

outside the scope of these claims.

       A.     No Literal Infringement

       The Court has construed “lumen” to mean “the cavity of a tube.” (Order

[Dkt. #102], at 25.) In adopting that construction, the Court referred to dictionary




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definitions of “lumen” (id. at 24) and rejected VSI’s narrower interpretation that a

“lumen” must be large enough for a balloon or stent to pass through it. (Id. at 21-23.)

       Applying the Court’s construction, the shaft of the Boosting Catheter has a lumen

and does not literally infringe the ’032, ’413 and RE’380 patents. The drawing below

shows the cross-section of the Boosting Catheter’s shaft:




(Merrill Decl. Ex. 19 at QXM006059.) As shown in the drawing, the Boosting Catheter

shaft has two round wires (12) wrapped in sheath (11). (Id.) That leaves two voids

between the wires and the sheath. (Id.) One void is filled with a bonding agent (10).

(Id.) The other is empty and runs the length of the shaft. (Keith Dep. 182:6-8,183:11-

184:10.)

       The inside of the sheath is a “lumen” – i.e., a “cavity of a tube.” (Merrill Decl.

Ex. 21 ¶¶ 144-146.) The fact that the sheath lumen is partially filled with wires and a

bonding agent does not change the fact that it is, by the Court’s definition, a “lumen.”

The residual gap between the wires is also a lumen. (Id. ¶ 147.)




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       VSI’s technical expert, Peter Keith, confirms the existence of a lumen in the

Boosting Catheter shaft. Keith agrees the sheath of the Boosting Catheter surrounds the

twin wires. (Keith Dep. 181:17-25.) Keith agrees the sheath is a “tube.” (Id. 182:1-5.)

Keith agrees there is at least some space between the sheath and the wires. (Id. 182:6-8,

183:11-184:10.) While Keith testified that the unoccupied “space” within the sheath is

“tiny,” he agrees the Boosting Catheter is different than the “solid” shaft described in the

VSI patents, which has no internal space. (Keith Dep. 184:15-185:7, see also 185:11-

186:9 (agreeing that Figures 1, 4, and 12 of the VSI patents show a proximal shaft

without a lumen).) It is, therefore, indisputable that the Boosting Catheter has a lumen

and avoids literal infringement of the ‘032, ‘413 and RE’380 patents under the Court’s

construction.

       B.       No Infringement under the Doctrine of Equivalents

       VSI has argued that the Boosting Catheter infringes the “without a lumen”

limitation under the doctrine of equivalents. But the doctrine of equivalents does not

apply for multiple reasons.

       First, the doctrine of equivalents cannot be used to eliminate or “vitiate” a claim

element. Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29-30 (1997).

The doctrine of equivalents is especially inappropriate when the supposed “equivalent” is

opposite of the claimed element. See, e.g., Asyst Technologies, Inc. v. Emtrak, Inc.,

402 F.3d 1188, 1195 (Fed. Cir. 2005) (“unmounted” is not equivalent to “mounted”);

Hoganas AB v. Dresser Indus., Inc., 9 F.3d 948, 954–55 (Fed. Cir. 1993) (“solid fiber” is

not equivalent to hollow “straw-shaped” element).


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       “With” a lumen is the opposite of “without,” a feature critical to the invention’s

novelty. Rail structure “without a lumen” is the pushrod description the examiner found

“not taught or suggested by the prior art.” (Merrill Decl. Ex. 16 at 2.) The doctrine of

equivalents is inapplicable when it would remove a limitation critical to the invention’s

novelty. See, e.g., Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843

F.3d 1315, 1344 (Fed. Cir. 2016).

       Second, prosecution history estoppel prevents a patentee from recapturing through

the doctrine of equivalents subject matter that was surrendered during prosecution.

Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 733-34 (2002).

The doctrine presumptively applies where, as here, the applicant made a narrowing claim

amendment related to patentability. Id. at 736-37. As discussed above, VSI amended its

claims during prosecution to add the “without a lumen” limitation for patentability

reasons. (See supra Section II.) Like the rule against recapture, prosecution history

estoppel prohibits VSI from recapturing coverage over shafts with lumens. See also

Carnegie Mellon Univ. v. Hoffmann-LaRoche Inc., 541 F.3d 1115, 1129 (Fed. Cir. 2008)

(where patentee specifically limited claim to one feature, it could not later claim another

is equivalent); Planet Bingo, LLC v. GameTech Int’l, Inc., 472 F.3d 1338, 1344 (Fed. Cir.

2006) (same). VSI cannot overcome the presumptive prosecution estoppel bar.

       Third, patentees are barred from asserting an equivalency theory that would

encompass, or “ensnare,” the prior art. Wilson Sporting Goods Co. v. David Geoffrey &

Assoc., 904 F.2d 677, 683 (Fed. Cir. 1990). If VSI could pursue as equivalent shafts with

lumens, the scope of the claims would cover Solar’s “advancement member 5” made of


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“spring hollow hypotube” that VSI avoided by amending the claims to require a pushrod

“without a lumen.” (Merrill Decl. Ex. 18 ¶ 0025.) VSI’s evidence of equivalency is

limited to the conclusory opinion of its expert that the Boosting Catheter “provid[es] a

rapid exchange rail with a minimal cross-sectional profile.” (Merrill Decl. Ex. 23,

Appendix I at 11-12.) But Solar’s prior art “hypotube” pushrod with a lumen also

provides a rapid exchange rail with a smaller cross-section profile. (Merrill Decl. Ex. 18,

Fig. 1.) Nothing passes through Solar’s “lumen” in Figure 1.

       Fourth, VSI cannot establish that the Boosting Catheter’s lumen shaft performs in

substantially the same way as the claimed pushrod “without a lumen.” See Graver Tank

& Mfg. Co. v. Linde Air Products Co., 339 U.S. 605, 607 (1950). There is no

infringement where the accused device performs the same function and achieves the same

result but in a substantially different way. Engel Industries, Inc. v. Lockformer Co., 96

F.3d 1398, 1406-07 (Fed. Cir. 1996).

       Here, the Boosting Catheter’s lumen shaft indisputably enables two wires to pass

through it. (Merrill Decl. Ex. 21, ¶ 151.) No wires are capable of passing within the

solid shaft of VSI’s claimed device. QXM’s twin-wire-inside-a-sheath design also makes

the shaft more flexible in the axial, angular and longitudinal directions, minimizes stress

concentration at the joint between the shaft and the tube, and enhances safety by making

the device less prone to breakage and separation. (Id. ¶ 152.) The residual gap in the

shaft enables the passage of fluid and is capable of inflating a balloon mounted on the

shaft. (Id. ¶ 151.) VSI’s claimed device “without a lumen” cannot inflate a balloon.

(Id. ¶¶ 151-53.) Differences are substantial where, as here, an accused infringer


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purposefully designed around a patent and made distinct changes for functional reasons.

Roton Barrier, Inc. v. Stanley Works, 79 F.3d 1112, 1127 (Fed. Cir. 1996).

       Differences are also substantial if the accused infringer obtained a patent on its

unique elements. Zygo Corp. v. Wyko Corp., 79 F.3d 1563, 1569-70 (Fed. Cir. 1996).

Here, the Patent Office granted QXM a patent on its twin-wire shaft over VSI’s patents

disclosing a solid pushrod “without a lumen.” (Merrill Decl. Ex. 20, References Cited.)

Accordingly, the Boosting Catheter cannot infringe the ’032, ’413 or RE’380 patents,

literally or under the doctrine of equivalents.

IV.    THE BOOSTING CATHETER DOES NOT INFRINGE CLAIMS
       REQUIRING A LUMEN “NOT MORE THAN ONE FRENCH SMALLER”
       THAN THE COMPATIBLE GUIDE CATHETER

       The ’032 patent claim 8, RE’380 patent claim 8, RE’760 patent claims 25 and 48,

RE’776 patent claims 30 and 53, and RE’116 patent claim 25, each require the “tubular

structure” of the guide extension catheter to have a “cross-sectional inner diameter” that

is “not more than one French smaller than the cross-sectional inner diameter of the lumen

of the guide catheter.” The Boosting Catheter does not infringe—directly or indirectly—

because the inner diameter of the device is more than one French size smaller than the

compatible guide catheter.

       A.     QXM’s Instructions for Use Require its Boosting Catheter to be Used
              with a Guide Catheter that Does Not Meet the “One French”
              Limitation

       VSI’s infringement contentions regarding the “one French” requirement are

limited to QXM’s 6 French Boosting Catheter model BC57-150. (Merrill Decl. Ex. 22 at




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9, 13-14, 22, 40, 45, 67.) VSI does not dispute QXM’s three other models avoid

infringement of this limitation. (Id.)5

       There is no dispute QXM’s 6 French Boosting Catheter has an inner diameter of

0.057 inches. (Merrill Decl. Ex. 23, Appendix D at 2-3; Ex. 19; Ex. 24.) One French

equals 0.0131 inches. (Merrill Decl. Ex. 23, Appendix I at 26; Keith Dep. 85:18-86:3.)

For the 6 French Boosting Catheter to infringe the “one French” limitation, it would need

to be sold for use with a guide catheter that has an inner diameter of 0.070 inches or less.

       QXM does not sell guide catheters. (Merrill Decl. Ex. 25, No. 1.) Rather, QXM

sells the Boosting Catheter with Instructions for Use prescribing the sizes of compatible

guide catheters that can be used with the device. (Merrill Decl. Ex. 24.) As an FDA

regulated medical device, the Boosting Catheter’s use is defined by its accompanying

instructions. 21 C.F.R. §§ 801.4 (meaning of intended uses) and 801.5 (medical devices;

adequate directions for use).

       QXM’s Instructions for Use explicitly caution physicians against using the

Boosting Catheter with an incorrectly sized guide catheter. (Merrill Decl. Ex. 24 at 5

(“Precautions”) and § 10.4 at 7 (“Device Usage”).) The Instructions dictate that the 6

French Boosting Catheter must be used with a guide catheter having a minimum inner

diameter of 0.071 inches:




       5
        VSI abandoned a theory of infringement under the doctrine of equivalents for the
“one French smaller” limitation. (Merrill Decl. Ex. 31.)


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(Merrill Decl. Ex. 24 at QXM000088 (6 French identified in red).) Numerous 6 French

guide catheters on the market have an inner diameter of 0.071 inches – which would

make them compatible with a 6 French Boosting Catheter. (Merrill Decl. Ex. 26 at 17;

Ex. 27 at 38 (“most common”); Ex. 23, Appendix S (44% of 6 French guide catheters

sold with 0.071” I.D.))

      The difference between the 0.057 inch inner diameter of a 6 French Boosting

Catheter and the 0.071 inch inner diameter of a compatible guide catheter is 0.014 inches

– which is greater than 0.0131 inches or one French. (Merrill Decl. Ex. 25, No. 4.)6

Following QXM’s FDA-compliant instructions, the accused Boosting Catheter has a




      6
         The difference in IDs of non-infringing model BC52-150 and its compatible
guide catheter is 0.014”—the same as accused model BC57-150. Therefore, VSI tacitly
concedes that a difference in IDs of 0.014” or greater is outside the scope of the claim
limitation.


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“cross-sectional inner diameter” more than “one French smaller than the cross-sectional

inner diameter of the lumen of the [compatible] guide catheter.” (Keith Dep. 91:17-23.)

       B.       The Possibility of a Customer Ignoring QXM’s Instructions for Use
                Does Not Make QXM Liable for Infringement

       VSI argues that, despite QXM’s instructions and warnings to customers, the 6

French Boosting Catheter directly infringes VSI’s apparatus claims (’032 claim 8 and

RE’776 claim 53) and indirectly infringes VSI’s system and method claims (RE’380

claim 8, RE’760 claims 25 and 48, and RE’116 claim 25).7 According to VSI, the 6

French Boosting Catheter is capable of being used with a guide catheter that satisfies the

“one French” limitation, and QXM knows a customer may use the 6 French Boosting

Catheter in that manner. Even if that were true, it is insufficient to establish

infringement.

       With respect to the apparatus claims, a party does not infringe such claims merely

because it is possible to use the accused device in an infringing way. ACCO Brands, Inc.

v. ABA Locks Mfr. Co., 501 F.3d 1307, 1313 (Fed. Cir. 2007) (rejecting a “reasonably

capable” standard for direct infringement). If the ordinary and intended use of the

apparatus does not infringe, there is no infringement. Accent Packaging Inc. v. Leggett &

Platt, Inc., 707 F.3d 1318 (Fed. Cir. 2013); High Tech Med. Instrumentation, Inc. v.

New Image Indus., Inc., 49 F.3d 1551, 1555–56 (Fed. Cir. 1995).




       7
        VSI does not claim direct infringement of the system and method claims because
QXM does not make, use or sell a guide catheter or perform a method of using the
Boosting Catheter with a guide catheter.


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       Here, the words of VSI’s apparatus claims do not cover every device capable of

being used with a guide catheter having inner diameter not more than one French smaller

than the inner diameter of the device. Claim 8 of the ’032 patent and claim 53 of the

RE’776 patent require a device that must in fact be “for use with [such] a guide catheter.”

See Typhoon Touch Tech., Inc. v. Dell, Inc., 659 F.3d 1376, 1380 (Fed. Cir. 2011)

(“memory for storing” is not satisfied by memory merely “capable of being configured

for storing”). The Boosting Catheter’s Instructions for Use make clear that the 6 French

Boosting Catheter is not “for use” with a guide catheter that would cause it to infringe the

“one French” limitation.

       With respect to VSI’s system and method claims, VSI must show QXM

specifically intended for customers to infringe those claims and took affirmative acts to

encourage infringement.8 DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1305-06 (Fed.

Cir. 2006). Evidence of QXM’s mere knowledge that a customer may disregard the

Instructions for Use and use the Boosting Catheter with a guide catheter having an inner

diameter of 0.070 inches is not enough to establish inducement. Takeda Pharm. U.S.A.,

Inc. v. W. Ward Pharm. Corp., 785 F.3d 625, 630 (Fed. Cir. 2015); DSU Med., 471 F.3d

at 1305-06.




       8
         QXM cannot be liable for contributory infringement because it is indisputable
that use of the accused 6 French Boosting Catheter according to its Instructions for Use
with a 0.071” ID guide catheter is a substantial non-infringing use. DSU Med. Corp. v.
JMS Co., 471 F.3d 1293, 1303 (Fed. Cir. 2006) (contributory infringement requires
evidence of the absence of substantial non-infringing uses).


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       The Boosting Catheter’s Instructions for Use show that QXM explicitly

discourages infringement of the “one French” limitation. (Merrill Decl. Ex. 24.) There is

no evidence of an affirmative act by QXM to encourage users to disregard the

Instructions for Use. Takeda Pharm., 785 F.3d at 631 (no inducement where instructions

actually described infringing mode but did not recommend or encourage its use).

V.     QXM’S BOOSTING CATHETER DOES NOT INFRINGE CLAIMS
       REQUIRING THE “SIDE OPENING” TO BE MORE RIGID THAN THE
       “TUBULAR STRUCTURE”

       RE’760 claim 25, RE’776 claims 25 and 52, RE’760 claim 48, and RE’116 claim

52, each require the “segment defining the side opening” (or “a material forming” that

segment) to be “more rigid than the tubular structure” (or a “distal end portion” of that

structure). The Boosting Catheter does not satisfy these claim limitations because

portions of the “tubular structure,” including the “distal end portion of the tubular

structure,” are indisputably more rigid that the material forming the side opening of the

device.

       A.     The “Side Opening” Does Not Include Any Full-Circumferential
              (Tubular) Structure

       The Court has construed “side opening” to have its plain and ordinary meaning.

(Order [Dkt. #102], at 26, see also 31-32 (construing “a material” forming the side




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opening).) However, VSI cannot seem to decide where the “side opening” of the device

is.9

       During prosecution, VSI submitted the following diagram to identify the “side

opening structure” as the section of the device without any of the full-circumferential

(tubular) structure:




(Merrill Decl. Ex. 28 at 36 (color added).) VSI’s expert refers to this area as the

“geometric side” opening. (Keith Dep. 68:11-71:11.)

       By contrast, in this lawsuit, VSI has identified the “side opening” of the Boosting

Catheter as including a portion of the full-circumferential tubular structure between the

actual opening and the marker band. (Keith Dep. 68:11-70:17.) VSI’s expert, Keith,

identified the “side opening” as the area between the two Xs in the drawing of the

Boosting Catheter below:




       9
        VSI’s shifting definition of “side opening” suggests that it is indefinite. As
VSI’s expert Keith acknowledged, “different people [could] come to different
determinations about what a side opening is and where it ends.” (Keith Dep. 155:3-8.)


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(Id. at 145:11-148:4, 149:5-152:3; Merrill Decl. Ex. 19 at QXM006060.) Keith testified

that the “tubular structure” of the Boosting Catheter is everything from (and including)

the proximal marker band to the distal end of the device. (Keith Dep. 151:16-152:3.) His

location of the “tubular structure” and the “side opening” in the Boosting Catheter is

shown in the annotated photograph below.




       The definition of the “side opening” that VSI submitted to the Patent Office

(i.e., the opening area that does not have any full-circumferential or tubular structure) is

the correct one. The Court should reject VSI’s litigation-driven, arbitrary definition of

“side opening” that includes a portion of the full-circumferential tube. Regardless of




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which definition applies, the Boosting Catheter does not infringe the patent claims

describing the relative rigidity of the “side opening” and “tubular structure.”

       B.     Portions of the Boosting Catheter’s “Tubular Structure” Are More
              Rigid than the “Side Opening”

       The section of the Boosting Catheter that VSI agrees constitutes the “tubular

structure” contains two platinum marker bands, identified in the photographs below:




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       Assuming the “side opening” is only the “geometric side” opening without any

tubular structure, the undisputed evidence establishes that the marker band portions of the

Boosting Catheter’s “tubular structure” are more rigid than its “side opening” segment.

Three-point bend tests performed by QXM’s expert, Brian Brown, confirm that

conclusion. (Merrill Decl. Ex. 21, Ex. E at 20.) The chart below shows the results of

Brown’s three-point bend tests, focused on the side opening area compared to the most

proximal marker band:




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(Merrill Decl. Ex. 21, Ex. D at 4.)

       Using VSI’s expert’s interpretation of “side opening,” Brown’s test results show

that the marker band portions of the tubular structure are still more rigid than the “side

opening segment”:




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(Merrill Decl. Ex. 21, Ex. D at 3.)

       VSI’s expert, Keith, agrees that Brown’s three-point bend test is an appropriate

way to measure rigidity. (Keith Dep. 166:13-21.) Keith does not dispute the accuracy of

Brown’s test results. (Id. at 170:23-171:2.) Keith agrees that the marker band portions of

the Boosting Catheter are more rigid than the portion of the device that he interprets as

the “side opening.” (Id. at 171:10-172:24, 173:1-176:7.)

       The fact that only the marker band portions are more rigid than the side opening is

irrelevant. VSI argued during prosecution that a prior art reference that had a single rigid

area along less than the entire length of the tubular structure was distinguishable from the

claimed invention. (Merrill Decl. Ex. 28 at 37-39.) VSI included the annotated figure

below from a prior art reference (Adams ’280) to illustrate its argument.

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(Merrill Decl. Ex. 28 at 38 (color added).) VSI argued the “surrounding member 38” in

the prior art—a specific area, less than the entire length—was more rigid than the

“segment defining a side opening,” and, therefore, failed to satisfy the claim. (Id. at 37.)

The marker bands in QXM’s Boosting Catheter are also discrete sections, less than the

entire length of the tubular structure, but more rigid than the “segment defining a side

opening.” Therefore, the tubular structure of QXM’s Boosting Catheter falls outside the

scope of the claims for the same reason VSI distinguished the prior art during

prosecution.

VI.    CLAIM 53 OF THE RE’116 PATENT IS ANTICIPATED BY ADAMS

       As a matter of law, claim 53 of the RE’116 patent is invalid as anticipated by the

prior art Adams patent. (Merrill Decl. Ex. 29.) “A patent is invalid for anticipation under

35 U.S.C. § 102 if a single prior art reference discloses each and every limitation of the

claimed invention.” Purdue Pharma L.P. v. Epic Pharma, LLC, 811 F.3d 1345, 1351

(Fed. Cir. 2016). The Adams patent issued in 1996 and constitutes prior art against all of

the VSI patents. (Keith Dep. 216:16-19.) Adams describes a guide extension catheter in


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rapid exchange, which is exactly what VSI describes as its invention. (Keith Dep. 47:23-

48:6; Root Dep. 37:5-9.)10 Adams discloses each element of claim 53 the RE’116 patent,

rendering that claim invalid.11

       Claim 53 of the RE’116 patent depends on claim 52. The language of both claims

is quoted in bold below.

       A.     Claim 52[i]: “A method, comprising: advancing a distal end of a guide
              catheter having a lumen through a main blood vessel to an ostium of a
              coronary artery; advancing a distal end of a guide extension catheter
              through the guide catheter, including advancing a distal end portion of
              a tubular structure of the guide extension catheter beyond the distal
              end of the guide catheter while a segment defining a side opening of the
              guide extension catheter remains within the guide catheter,”

       Adams Fig. 1 shows a “guide catheter extension” (red 14) within the lumen of the

guide catheter (blue 12):




       10
         Excerpts from the deposition transcript of Howard Root (“Root Dep.”) are
attached to the Merrill Declaration as Exhibit 32.
       11
          Summary judgment on claim 53 will “declutter” VSI’s infringement allegations.
Adams also anticipates as a matter of law every element of the 19 other asserted claims
except for the following three limitations: (1) the angled or partially cylindrical side
opening; (2) the “not one French smaller” limitation; and (3) the tubular structure having
a “flexible cylindrical distal tip portion” “more flexible than … [a proximal] reinforced
portion.” None of these limitations is present in claim 53.


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(Merrill Decl. Ex. 29, Fig. 1 (color added) and 6:1-11 (pushrod 19 and flexible tube 32

form “guide catheter extension 14”), see also 16:40-44, 22:35-40, and Fig. 12.) Adams

explains Fig. 1 shows “guide catheter extension 14 . . . designed to extend beyond a distal

end of [a] guide catheter 12 into the coronary arteries.” (Id., 6:1-11.)

       Adams makes clear that, when the distal end of the guide extension is advanced

beyond the distal end of the guide catheter, the proximal side opening of the guide

extension remains within the guide catheter. (Merrill Decl. Ex. 29, 9:26-52, 15:58-64.)

Adams Figs. 2 and 12 show the side opening in the guide catheter:




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(Id., Figs. 2 (color added) and 12, see also Fig. 10; Keith Dep. 217:8-218:13 (admitting

Adams Fig. 1 shows a “guide catheter extension” that “provides guide backup support in

a way that allows you to advance various interventional cardiology devices deeper into

the vasculature”); id. at 220:20-221:2 (admitting Adams Figs. 1 and 12 show a distal end

portion of the “guide catheter extension” advanced beyond the end of the guide catheter

while a side opening remains within the guide catheter); id. at 228:7-12 (“[W]hen you use

the Adams patent to facilitate a guide catheter exchange, the guide catheter extension

stays extended out of the distal end of the guide catheter.”); id. at 228:13-19 (“[W]hile

the guide catheter extension is extended from the guide catheter, a second treatment




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device is then introduced to the guide catheter and then advanced into and from the distal

end of the guide catheter extension.”).)

       B.     Claim 52[ii]: “wherein the segment defining the side opening comprises
              a portion of the guide extension catheter that is more rigid than the
              distal end portion of the tubular structure;”

       Adams discloses a pushrod formed of a nitinol wire. (Merrill Decl. Ex. 29, 16:8-

24.) Figure 10 shows the distal end of the push rod embedded in the proximal end of the

flexible tube. Using the definition of “side opening” that VSI uses for the Boosting

Catheter, the push rod (green 262), side opening, and proximal end of the tube (red 255)

of the Adams device are shown below:




(Merrill Decl. Ex. 29, Fig. 10 (color added), 14:1-6; compare with Ex. 19 at QXM006060

(QXM assembly drawing); Ex. 30, Ans. No. 16 (identifying the “side opening” of the

Boosting Catheter).) The “side opening” portion of Adams is necessarily more rigid than

the remaining distal portion of the flexible tube because the “side opening” contains the

embedded pushrod 262 formed from nitinol wire.




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       C.     Claim 52[iii]: “maintaining the distal end portion of the tubular
              structure of the guide extension catheter in position beyond the distal
              end of the guide catheter; and while maintaining the distal end of the
              guide extension catheter positioned beyond the distal end of the guide
              catheter, advancing a balloon catheter or stent at least partially
              through the guide catheter and the guide extension catheter and into
              the coronary artery, including advancing the balloon catheter or stent
              through a hemostatic valve associated with a proximal end of the guide
              catheter, along a substantially rigid segment of the guide extension
              catheter, through the side opening, and through the tubular structure.”

       Adams discloses that the guide catheter extension can be used to perform “guide

exchanges,” a technique involving advancing a balloon catheter through the guide

extension. (Merrill Decl. Ex. 29, 9:26-52.) After an initial balloon is positioned across

the stenosis, it often becomes “necessary to substitute a larger balloon than the balloon

originally inserted.” (Id. at 9:26-36.) The original balloon is withdrawn. (Id.) The guide

catheter extension remains extended beyond the distal end of the guide catheter to

establish a path “to or across the obstruction or stenosis and directing a substitute

angioplasty balloon catheter thereto. . . . [T]he guide catheter 12 and the guide catheter

extension 14 cooperate to direct the new angioplasty balloon catheter to the stenosis.”

(Id. at 9:36-41.)

       Adams Figs. 1 and 2 show the balloon catheter traveling along the pushrod and

through and beyond the side opening and tubular structure of the claimed guide extension

catheter. (Id., Figs. 1-2. See also Keith Dep. 221:18-222:5, 227:13-228:19 (describing

the “catheter exchange” and admitting that Adams Fig. 1 shows a balloon catheter

passing through the guide extension).) Adams discloses that the device can also be used

with “guide wires and other coronary treatment devices,” including stents. (Merrill Decl.



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Ex. 29, 4:43; Keith Dep. 225:2-8 (conceding that Adams does not exclude the possibility

of using the device with stents).)12

       Adams also discloses the remaining elements in claim 52. Adams teaches use

with a “hemostasis valve” that “provides hemostatic control for the guide catheter

system.” (Merrill Decl. Ex. 29, 5:16-29, see also 11:20-30.) As for the “substantially

rigid portion,” Adams’ pushrod is preferably formed of nitinol – the same material VSI

discloses for its pushrod. (Id., 16:8-24; ’032 patent 6:36.) Moreover, the Adams pushrod

is sufficiently rigid to advance the device within the guide catheter, thereby meeting the

Court’s claim construction of “substantially rigid.” (Merrill Decl. Ex. 29, 15:7-24.)

       D.     Claim 53: “The method of claim 52, wherein advancing the distal end
              of the guide extension catheter through the guide catheter includes
              positioning the segment defining the side opening within the guide
              catheter for receiving the treatment catheter.”

       As explained above, Adams discloses that the side opening of the claimed device

is positioned within the guide catheter for receiving the treatment catheter

(e.g., a balloon) when the distal end of the guide extension is advanced through the guide

catheter. Accordingly, Adams indisputably anticipates every feature of RE’116 patent

claim 53 and the independent claim 52 on which it depends. Claim 53 is invalid as a

matter of law.




       12
         VSI’s own Guideliner V3 has the same inner diameter (0.046 inches) as the
Adams device, and it is undisputed that the Guideliner V3 is large enough for a stent to
pass through. (Merrill Decl. Ex. 29, 14:12-13; Keith Dep. 241:8-242:24.)


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                                    CONCLUSION

       For the foregoing reasons, QXM respectfully requests that the Court enter

summary judgment that VSI’s asserted patent claims are invalid or not infringed by

QXM.

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